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                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

 MATT RHOADES, TRUSTEE AND INDIANA                           )
 STATE COUNCIL OF PLASTERERS AND CEMENT                      )
 MASONS HEALTH AND WELFARE AND PENSION                       )
 FUNDS,                                                      )
                                                             )
                               Plaintiffs,                   ) Case No. 1:25-cv-995
                                                             )
                               v.                            )
                                                             )
 CHUCK’S EXCAVATING & LANDSCAPING INC, an                    )
 Illinois corporation,                                       )
                                                             )
                                                             )
                                                             )
                               Defendant.                    )

                                             COMPLAINT

        Plaintiffs, by their attorneys, DONALD D. SCHWARTZ and ARNOLD AND KADJAN,

 LLP, complain against Defendant, CHUCK’S EXCAVATING & LANDSCAPING, as follows:

                                    JURISDICTION AND VENUE

        1.      (a)    Jurisdiction of this cause is based upon Section 502 of the Employee

 Retirement Income Security Act of 1974, 29 U.S.C. Section 1132 ("ERISA") and 29 U.S.C. 1145 as

 amended.

                (b)    Venue is founded pursuant to 29 U.S.C. Section 1132(e) (2) in this district,

 where the Fund as described in Paragraph 2, is administered and 29 U.S.C. Section 185(c).

                                              PARTIES

        2.      (a)    The Plaintiff in this count is MATT RHOADES, TRUSTEE AND

 INDIANA STATE COUNCIL OF PLASTERERS AND CEMENT MASONS PENSION FUND,

 (“the Fund”), and have standing to sue pursuant to 29 U.S.C. Section 1132(d)(1).
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                (b)    The Fund has been established pursuant to collective bargaining agreements

 previously entered into between Cement Masons Local 692 and its affiliated locals (the "Union")

 and certain employer associations whose employees are covered by the collective bargaining

 agreement with the Union.

                (c)    The Fund is maintained and administered in accordance with and pursuant

 to the provisions of the National Labor Relations Act, as amended, and other applicable state and

 federal laws and also pursuant to the terms and provisions of the agreements and Declarations of

 Trust which establish the Fund.

        3.      (a)    CHUCK’S EXCAVATING & LANDSCAPING, a Illinois corporation

 (hereafter "CHUCK’S "), employs employees represented by the Union and is bound to make

 contributions for hours and weeks worked by all employees and upon subcontractors who perform

 work which would otherwise be performed by employees.

                (b)    CHUCK’S has its principal place of business in Salem, Illinois.

                (c)    CHUCK’S is an employer engaged in an industry affecting commerce.

        4.      Since April 16, 2021, CHUCK’S has entered into successive collective bargaining

 agreements with Cement Masons Local 143 pursuant to which it is required to pay specified wages

 and to make periodic contributions to the Fund on behalf of certain of its employees. (Exhibit A)

        5.      By virtue of certain provisions contained in the collective bargaining agreements,

 CHUCK’S is bound by the Trust Agreement establishing the Fund.

        6.      Under the terms of the Collective Bargaining Agreements and Trust Agreements to

 which it is bound, CHUCK’S is required to make contributions to the Fund on behalf of its

 employees and, when given reasonable notice by Plaintiff or their representatives, to submit all




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 necessary books and records to Plaintiffs’ accountant for the purpose of determining whether or

 not it is in compliance with its obligation to contribute to the Funds.

        7.      An audit was completed for the time period of October 1, 2021 through March 31,

 2025 for $12,402.14 benefits, $1,240.21 10% liquidated damages, $1,245.00 audit costs for a total

 amount due of $14,887.35 plus attorney’s fees and costs.

        WHEREFORE, Plaintiff pays for relief as follows:

        A.      Judgment be entered against CHUCK’S and in favor of Plaintiff, in the amount

 shown due under the audit of 14,887.35

        B.      Plaintiff be awarded their attorneys’ fees, costs, interest, and liquidated damages

 pursuant to 29 U.S.C. 1132(g)(2) and Section 502(g)(2).

        C.      CHUCK’S be enjoined from violating the terms of the collective bargaining

 agreements and Trust Agreements by failing to make timely payments to the Fund and be ordered

 to resume making those payments.

        D.      This Court grant Plaintiff such other and further relief as it may deem

 appropriate under the circumstances.

                                                Respectfully submitted,

                                                MATT RHOADES, et. al.


                                                By:    /s/ Donald D. Schwartz
                                                       One of their Attorneys
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